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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:11CR135

      vs.
                                                            TENTATIVE FINDINGS
KARINA MICHELLE GUEVARA,

                     Defendant.


       The Court has received the Revised Presentence Investigation Report (“PSR”)

and the Defendant’s objections thereto (Filing No. 163) and supporting brief (Filing No.

164)). The government adopted the PSR (Filing No. 165). See Order on Sentencing

Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are issued

with the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005),

the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 26 (base offense level), 29 (role in the offense), and

30 (obstruction of justice). She also argues that she is safety valve eligible.

Base Offense Level (¶ 26)

       The Defendant argues that her base offense level should be 33 rather than 36.

The objection will be heard, and the government has the burden of proof by a

preponderance of the evidence.

Role (¶ 29)

       The Defendant argues that she was a minimal participant. The objection will be

heard, and the government has the burden of proof by a preponderance of the

evidence.
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Obstruction of Justice (¶ 30)

       The Defendant argues that she is not entitled to the 2-level upward adjustment

for obstruction of justice.   The objection will be heard, and the government has the

burden of proof by a preponderance of the evidence.

Safety Valve

       The Defendant argues that she is entitled to a 2-level reduction for the safety

valve. The objection will be heard, and the Defendant has the burden of proof by a

preponderance of the evidence.

Variance

       The Defendant has not filed a motion for variance.         Rather, defense counsel

included a request in the brief in support of her objections and attached the brief filed in

support of the codefendant’s motion for variance.       Defense counsel may argue the

request at sentencing.

       IT IS ORDERED:

       1.       The Defendant’s objections to the PSR will be heard at sentencing as

stated above;

       2.       The Defendant may argue her request for a variance at sentencing;

       3.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a

motion challenging these tentative findings, supported by (a) such evidentiary materials

as are required (giving due regard to the requirements of the local rules of practice

respecting the submission of evidentiary materials), (b) a brief as to the law, and (c) if



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an evidentiary hearing is requested, a statement describing why an evidentiary hearing

is necessary and an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this

Order, my tentative findings may become final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      Dated this 15th day of November, 2012.

                                               BY THE COURT:
                                               s/ Laurie Smith Camp
                                               Chief United States District Judge




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